                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No. 3:20-CR-010
                                                 )
JEFFERY MORGAN SMITH                             )


                           MEMORANDUM AND ORDER

        Now before the Court is the defendant’s motion to continue his November 17,

 2020 trial date. [Doc. 27]. Defense counsel requests an unspecified continuance,

 explaining that the parties are close to reaching a plea agreement. According to the

 motion, the United States does not oppose the requested relief.

        The Court finds that the ends of justice served by granting the motion outweigh

 the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

 3161(h)(7)(A). In light of the reasoning set forth by the defendant, the Court finds that

 the failure to grant the motion would deny the defense reasonable time necessary for

 effective trial preparation, should the parties’ plea negotiations prove unsuccessful. 18

 U.S.C. § 3161(h)(7)(B)(iv). The motion requires a delay in the proceedings. Therefore,

 all the time from the filing of the motion to the new trial date is excludable as provided

 by the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A).

        The defendant’s motion [doc. 27] is GRANTED. The trial of this criminal case

 is CONTINUED from November 17, 2020, to Tuesday, January 26, 2021, at 9:00




Case 3:20-cr-00010-RLJ-DCP Document 28 Filed 11/04/20 Page 1 of 2 PageID #: 53
 a.m. in Knoxville. The new plea cutoff date is January 4, 2021.

             IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




                                           2

Case 3:20-cr-00010-RLJ-DCP Document 28 Filed 11/04/20 Page 2 of 2 PageID #: 54
